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                                                                                  United States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                      IN THE UNITED STATES DISTRICT COURT                          November 12, 2015
                                                                                    David J. Bradley, Clerk
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

UNITED STATES OF AMERICA                       §
                                               §
                                               §
                                               §
VS.                                            §     CRIMINAL ACTION NO. H-10-258-04
                                               §
                                               §
                                               §
PATRICK LANIER                                 §

                                          ORDER

       The defendant Patrick Lanier filed an unopposed motion for continuance of the sentencing

hearing, (Docket Entry No. 530). The motion for continuance is GRANTED. Objections to the

presentence report are to be filed by December 20, 2015. Lanier’s sentencing hearing is reset to

January 26, 2016 at 9:30 a.m.

              SIGNED on November 12, 2015, at Houston, Texas.

                                                   ______________________________________
                                                            Lee H. Rosenthal
                                                      United States District Judge
